12/17/20 ASt8 152 0° Gk OGO9S2ISHOMIA DOCUFAMEBARFSRURGL2/17/20 Page 1 of 1 PagelDHoG/008

FILED

IN THE UNITED STATES DISTRICT COURT FOR

THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

Vv.

TIMMIE WINSELLE,

Defendant.

 

DEC 1 7 2020

U.S. DISTRICT COURT-WVND
CLARKSBURG. WV 26301

Criminal No. / : LOCA
‘Violations: 18 U.S.C, § 7(3)
18 U.S.C. § 113(a)(3)

 

INFORMATION

The United States Attorney charges that:

COUNT ONE

(Assault with a Dangerous Weapon with Intent to do Bodily Harm)

On or about November 18, 2019, in Preston County, West Virginia, within the Northern

District of West Virginia, the defendant, TIMMIE WINSELLE, at a place within the special

maritime and territorial jurisdiction of the United States and on land acquired for the use of the

United States and under its jurisdiction, namely, United States Penitentiary Hazelton, intentionally

and forcibly assaulted another inmate, L.A., with a dangerous weapon and with the intent to do

bodily harm to L.A., in violation of Title 18, United States Code, Sections 7(3) and 113(a)(3).

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WILLIAM J. POWELL
United States Attorney

 

Christopher L. Bauer
Assistant United States Attorney
